Case 2:03-cv-00294-DN Document 979-2 Filed 03/13/07 PagelD.15348 Page 1 of 48

SNELL & WILMER L.L.P.

Alan L. Sullivan (3152)

Todd M. Shaughnessy (6651)
Amy F. Sorenson (8947)

15 West South Temple, Suite 1200
Salt Lake City, Utah 84101-1004
Telephone: (801) 257-1900
Facsimile: (801) 257-1800

CRAVATH, SWAINE & MOORE LLP
Evan R. Chesler (admitted pro hac vice)
David R. Marriott (7572)

Worldwide Plaza

825 Eighth Avenue

New York, New York 10019
Telephone: (212) 474-1000

Facsimile: (212) 474-3700

Attorneys for Defendant/Counterclaim-Plaintiff
International Business Machines Corporation

IN THE UNITED STATES DISTRICT COURT

FOR THE DISTRICT OF UTAH

THE SCO GROUP, INC., IBM’S REDACTED REPLY
MEMORANDUM IN FURTHER

vos . SUPPORT OF ITS MOTION FOR
Plaintiff/Counterclaim-Defendant, SUMMARY JUDGMENT ON

SCO’S INTERFERENCE CLAIMS
(SCO'S SEVENTH, EIGHTH, AND
NINTH CAUSES OF ACTION)

INTERNATIONAL BUSINESS MACHINES
CORPORATION,

Defendant/Counterclaim-Plaintiff. Civil No. 2:03CV-0294 DAK
Honorable Dale A. Kimball

Magistrate Judge Brooke C. Wells

SNELL & WILMER L.L.P.

Alan L. Sullivan (3152)

Todd M. Shaughnessy (6651)
Amy F. Sorenson (8947)

15 West South Temple, Suite 1200
Salt Lake City, Utah 84101-1004

Telephone: (801) 257-1900
Facsimile: (801) 257-1800

CRAVATH, SWAINE & MOORE LLP
Evan R. Chesler (admitted pro hac vice)
David R. Marriott (7572)

Worldwide Plaza

825 Eighth Avenue

New York, New York 10019
Telephone: (212) 474-1000

Facsimile: (212) 474-3700

Attorneys for Defendant/Counterclaim-Plaintiff
international Business Machines Corporation

Case 2:03-cv-00294-DN Document 979-2 Filed 03/13/07 PagelD.15349 Page 2 of 48

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IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF UTAH

THE SCO GROUP, INC.,
Plaintiff/Counterclaim-Defendant,

Vv.

INTERNATIONAL BUSINESS MACHINES
CORPORATION,

Defendant/Counterclaim-Plaintiff.

IBM’S REPLY MEMORANDUM IN
FURTHER SUPPORT OF ITS MOTION
FOR SUMMARY JUDGMENT ON
SCO’S INTERFERENCE CLAIMS

(SCO’S SEVENTH, EIGHTH AND
NINTH CAUSES OF ACTION)

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Case 2:03-cv-00294-DN Document 979-2 Filed 03/13/07 PagelD.15350 Page 3 of 48

Table of Contents

Page
Preliminary Statement... 1sscsscsesscssseesssnsctsssesssscsceceesassessecqeneseresseesesecreseesececnesesaseestuanssseenace J
Statement of Undisputed Facts ...... wid
AL QUMIEML «0... es esceseeccse css ccceseneseectesnesavesuessesonsccsesusseresevenssureaesuuacsossavascasssesessnrssuuerssescacecessceoessaesaes 4
I. IBM DID NOT INTERFERE WITH ANY OF THE RELATIONSHIPS
A. Bay Stat... ccc eseeescsesssncccecseccssessanssscsecssccesecesnsereessesesseseaececeseseatssensseesasneeatsene 4
B. Computer Associates, Oracle and Intel .......0....0.c.cccccccessssessesesscsssecseeserensnensensoneres 5
Cc. Hewlett Packard... ....eescssssessssecsesecenssrecrsassnsesvssesnareseneesersserercneeccecsenseesssersseesnssess B
dD. OpenSource Conference in Scottsdale, AriZONa .......c.cccscccsessssesssesecsssserersteseseeeeres 9
E. Nel oo... cccee cs ceseessesececscsesscecssussesescasstscensesevaesarseevereesesseeeceescetsvensecsessscaesteesentoees 10
1. SCO Did Not identify Novel} As an Entity With Whom IBM
Allegedly Interfered 0.00... eeeeeeseceececescsecerrseeserserseneeneecseseersesusass 10
2. SCO Has Failed to Establish a Genuine Issue of Material Fact
With Respect to IBM’s Alleged Interference With Novell ..............-+ 14

F. “UNIX -on-Intel” Market... cscesssscscssscscscesessseecescssceesssnesassnecnsersevesenseesesseracsaee 19

UL. IBM DID NOT ACT WITH AN IMPROPER PURPOSE OR BY IMPROPER
MEANS, AND IBM’S ALLEGED CONDUCT IS PRIVILEGED.......:sssssssssesseeereseeees 26

A, SCO Cannot Show An Improper Purpose ..0......0.0...sc.ccscssssssecessessececesceeseesrneensen 20
B. SCO Cannot Show Improper Means... -- 28
1. 'BM’s Alleged Breach of Contract Does Not Constitute Improper

MEADS... sceecesseceserenserssssesssesstonesscesceereatavseeeoenesvscnecesceceeaeeeensamsanasteeneenes 29
2. IBM’s Alleged Copyright Infringement and Unfair Competition 30

Do Not Constitute Improper Means..............00+ sessecerevstessssosecsaneaune
Case 2:03-cv-00294-DN Document 979-2 Filed 03/13/07 PagelD.15351 Page 4 of 48

C. IBM’s Alleged Conduct Is Privileged... 1. cecseseseseceecseseennesesrsersnteenneanveas 32
Ti]. IBM’S ACTIONS DID NOT CAUSE INJURY TO SCO wisecssscecceccccssseressanececcenneneesneens 33

A. SCO Failed in eascovery 6 to > Mdentify Any Damages Resulting From JBM’s
Alleged Interference... vas dguececeectsssseeaaneneeneronee

B. SCO Cannot, in Any Event, Show Causation or Damages..........--..sseerneees 36

Comclusion oc. cc.e ee eceeecseceescesesceusssescsesccessssssssssesssevassesesassenusvacsnececacenseaueesensencccesssseastaseess vaseene

ii
Case 2:03-cv-00294-DN Document 979-2 Filed 03/13/07 PagelD.15352 Page 5 of 48

Table of Authorities
Cases Page
Adams v. Washbum Univ. of Topeka,
66 Fed. Appx. 819 (10th Cir, 2003)... cece ccccecccesecesecseeeceneneeenseceeceececenenesseseaauneneneragscescet 7
Aerotech Res., Inc. v. Dodson Aviation, Inc., 41

91 Fed. Appx. 37, 41 (20th Cir, 2004) ooo cccccccccscscsscsessutesseessussecenecsscssnseevessenssssunassseeenens

Ashley Creek Phosphate Co, v. Chevron,
129 F. Supp. 2d 1299 (D. Utah 2000), aff'd in part, rev’d in part, 315 F.3d 1245 oo ccccccesssseeeeed

Associated Diving and Marine Contractors v. Union Pac. RR,
No. 2:01 CV330, 2003 U.S.Dist. LEXIS 21560 (D. Utah July 10, 2003)... eee eenees 37-8

Atkin Wright & Miles v. Mountain States Tel. & Tel. Co.,
709 P.2d 330 (Utah L985) oo ccececcccecessscecscecseesecenscsesesesesansereeneusavecgucesessaesaeseecesensasnerenersayesas 33

Barber y, Hatlmark Cards, Inc., 45

No. 94-3356, 1996 U.S.App. LEXIS 729 (10th Cir. Jan. 19, 1996)...-.:0-secsccssteesrestenenneneens

ower v, Stein Brickson Lod wne1rs Ass'n,
201 F. Supp. 2d 1134 (D. Utah 2002) occ ccc sseesneceereeeeeceeceseeecaceseieaeannenaens 219, 23-25

Cambridge Elecs. Corp. v. MGA Elecs., Inc., 34

227 F.R.D. 313 (C.D. Cal 2004) ccc cece cc ecee cece en eneeccnecennenetenennsneneesennernsscerensanessasnasenenenecers?

, Conaway v. Smith,
853 F.2d 789 (1Oth Cit, 1988) o.cceecccsccssecssessesesereserssercenssvcssrenecenseessessseneaccesceqneensssatsssestsnenserecee E

Dalton v. FDIC,
987 F.2d 1216 (Sth Cir, 1993) occ cc ecesceesssensecsnssa nesseacaneseeseseuseneaesareccanaseansessenauseseeseensgeaees 5

Gull Labs, Inc. v. Diagnostic Tech. Inc.,
695 F. Supp. 1151 (D. Utah 1988) .ocscccsscesseesecessescsssessseveqeessseseseeseseesecesocaeensaseneersersessessneeamsenenedd

L&M Enters., Inc. v. BEI Sensors & Sys. Co., 35

231 F.3d 1284 (10th Cir. 2000) oe ces ee eeceersnenecencnasesensnenseesueneneneeseneerrennennaneae

Leigh Furniture & Carpet Co. v. Isom
657 P.2d 293 (Utalt 1982) .........ccccsccesesssescercssseeseseeneescusenrenpeneessaseseeaasveccasacegssnttensessensieds

iti
Case 2:03-cv-00294-DN Document 979-2 Filed 03/13/07 PagelD.15353 Page 6 of 48

Messer v. Amway Corp., 7

106 Fed. Appx. 678 (10th Cir, 2004)... cccesesseseseeessneserseseee

Mumford v. ITT Commercial Fin. Corp.,
858 P.2d 1043 (Utah Ct App, 1993) ..ccccccsssssssssssscsesssnssessevesesnsnronsnentaessaneansensarecessrensens 22-24

OKI Am., Inc. v. Advanced Micro Devices, Inc., 15

Civ. 04-3171, 2006 WL 2547464 (N.D. Cal. Aug. 31, 2006) on. .cccsssssesssesseesseceeerenetenes

P in, _¥. Norandal, USA, Inc.
297 F. Supp. 2d 1072 (NLD. TIE 2004)... ccscssscecssessssssssssssensesacsesssesacescarecensecsensonresersceceecacsenreeseere DD

Sampson v, Richins,

St. Benedict's Dev. Co. v. St. Benedict’s Hosp., -

nepard v. tier Comme*ns. Servs. Inc.,

92 F, Supp. 2d 279 (S.D.NLY. 2000)... cscescecesececeensseesneeeseentenssseanssssanansepeseessnenneace

sports Racing Servs. Inc. v. Sports Car Club of Am., 35

131 F.3d 874 (10th Cir. 1997) ccc ccseceec ese sseeneceeerenesseeneasnessnaceneeasesentaeegaes

Rules and Statutes

Fed. R. Civ. PL 37(C)(L)ecosessssssssssssecssssesescensssoueesseceneeassssssevssetsesectessegvaneecanversdeqseessnavensnnnessesonannine

Fed. R. Civ. P56. cccccccesscccccecsesecccscccscscensesececeeceevecenscsensececesescessendusnsssusereenae

Other
11 J. Moore, Moore’s Federal Practice - Civil § 56.14... cc ccsssesrenssnssssecnsrenenenssescnnenssererentanees
Prosser and Keeton on the Law of Torts (Sth ed. 1984) 987-88...........ccssesceeccessesenncoessetssnees "

iv
Case 2:03-cv-00294-DN Document 979-2 Filed 03/13/07 PagelD.15354 Page 7 of 48

Defendant/Counterctaim-Plaintiff IBM respectfully submits this reply memorandum in
further support of its motion for summary judgment on SCO’s interference claims (SCO's

Seventh, Eighth and Ninth Causes of Action).

Preliminary Statement!

In its Seventh, Eighth and Ninth causes of action, SCO alleges four types of tortious
interference by IBM: (1) “direct” interference with SCO’s existing economic relations with
Hewlett Packard, Computer Associates, Oracle and Intel — SCO contends that Karen Smith, an
IBM employee, contacted each of these companies at the Linux World conference in January
2003 and encouraged them not to do business with SCO; (2) “direct” interference with a SCO
investor, BayStar Capital (“BayStar”) — SCO contends IBM contacted BayStar, encouraged it to
threaten litigation and ultimately to withdraw its investment in SCO; (3) “direct” interference
with the September 19, 1995, Asset Purchase Agreement between Novell and the Santa Cruz
Operation (“Santa Cruz’) — SCO contends that IBM encouraged Novell to assert ownership of
the UNIX copyrights that are at issue in this case; and (4) “indirect” interference with SCO’s
prospective economic relationships with the entire “UNIX-on-Intel” market — SCO contends _

that IBM made technical contributions to the Linux operating system that made it competitive

' Terms are defined and used herein as they were in IBM’s opening brief. In addition,

references herein are as follows: cites to “Interference Br. {__” refer to IBM’s “Statement of
Undisputed Facts” in IBM's opening brief, and cites to “IBM Ex. __” refer to the declarations

and documents appended to the Declarations of Todd M. Shaughnessy, dated September 25,
2006, November 11, 2006 and January 12, 2007, the Supplemental Declaration of Todd M.
Shaughnessy, dated September 25, 2006 and the Second Supplemental Declaration of Todd M.
Shaughnessy, dated September 29, 2006. References to SCO’s opposition papers are given as
“Opp’n at__”, and references to the declarations and documents appended to the Declaration of

"

Brent ©. Hatch are cited herein as “SCO Ex. __”.
Case 2:03-cv-00294-DN Document 979-2 Filed 03/13/07 PagelD.15355 Page 8 of 48

with SCO’s products, and Linux ultimately captured a portion of the “UNIX-on-Intei” market
that SCO otherwise would have enjoyed.

Each of these claims fails as a matter of law. As to SCO’s “direct” interference claims,
each of the companies with whom IBM allegedly interfered has testified that no such
interference occurred or, in any event, they did not change their relationship with SCO as a result
of any conduct by IBM. Ms. Smith ikewise confirms that this conduct did not occur. SCO fails
to refute any of this testimony directly, but instead tries to manufacture a disputed issue of fact
from inadmissible evidence. With respect to what SCO calls its “indirect” or “interference with
the market” theory, SCO cites no authority, from Utah or anywhere else, that has recognized
such a claim, and those courts that have considered analogous claims have uniformly rejected
them. SCO offers no good reason why this Court should invent a theory of recovery never
before recognized by a court in Utah (or apparently anywhere else). (See Part I below.)

Even if SCO’s inadmissible evidence were considered, and even if the Court were to
adopt SCO’s novel theory of tortious interference, it remains undisputed that the alleged conduct
by IBM was not done for an improper purpose or by improper means and is, in any event,
privileged. As a result, SCO’s claims fail as a matter of law. (See Part II below.)

Finally, even if SCO somehow could overcome these hurdles, it remains undisputed that
SCO has not (and cannot) identify any damages proximately caused by IBM's conduct, and
SCO’s claims fail as a matter of law for this additional reason. (See Part III below.)

Statement of Undisputed Facts
IBM’s opening brief sets forth 67 items of undisputed fact, all of which are supported by

admissible record evidence. Despite the volume of its opposition papers, SCO fails to controvert
Case 2:03-cv-00294-DN_ Document 979-2 Filed 03/13/07 PagelD.15356 Page 9 of 48

1BM’s undisputed facts, as further described in Addendum A, incorporated herein by reference.
SCO does not even attempt to dispute numerous facts, and with respect to those it does purport to
dispute, SCO has failed to do so with admissible record evidence as required by Fed. R. Civ. P.
56 and DUCivR 56-1. Because the evidence upon which SCO relies is immaterial and
inadmissible, it should be stricken as described in Addendum B. Pursuant to DUCivR 56-1{c),
each of the material facts set forth in IBM’s opening brief should therefore be deemed admitted.
Rather than specifically controvert IBM’s statement of facts, SCO offers its own
counterstatement of facts. However, a party cannot avoid summary judgment based on a

counterstatement of facts that does not satisfy the requirement of DUCivR 56-1{c). See Ashley

Creek Phosphate Co. v. Chevron, 129 F. Supp. 2d 1299, 1303 n.2 (D. Utah 2000), aff'd in part,
rev'd in part, 315 F.3d 1245 (10th Cir. 2003). The material facts in support of this motion which

remain undisputed, include the following:

First, IBM did not interfere with any of the relationships specifically identified by SCO:
BayStar, Computer Associates, Oracle, Intel, Hewlett Packard and Novell. (Opp’n at 47, 50, 53.)
Each of these companies, through their representatives, has given sworn testimony that IBM
never attempted to convince any of ther to cease business activities with SCO and/or that to the
extent these companies took any action with respect to SCO it had nothing whatsoever to do with
IBM’s conduct. (Interference Br. fj 46-61.) In addition, SCO concedes that IBM’s Linux
strategy and its technical contributions to Linux were part of an effort to compete with Sun and
Microsoft. (Opp’n at 31.) SCO’s own expert witness, Dr. Gary Pisano, confirms that IBM

adopted its Linux strategy to compete with Sun and Microsoft and that SCO’s declining revenues
Case 2:03-cv-00294-DN Document 979-2 Filed 03/13/07 PagelD.15357 Page 10 of 48

were caused by competition from Linux generally — not from specific conduct IBM directed at

SCO. (See SCO Ex. 284 at 5, 15, 21; 286 at 24, 41.}

Second, SCO failed in its discovery obligations to identify Novell properly as an entity

with whom IBM allegedly interfered and, in any event, it remains undisputed that IBM did not
persuade Novell to assert ownership of the UNIX copyrights. (Interference Br. [J 56-61.)

Third, SCO has failed to set forth any record evidence supporting its damages theories
based on its interference claims. IBM’s Interrogatory No. 24 requested that SCO describe “all of
the alleged damages to plaintiff that were proximately caused by IBM, including, but not limnted
to... the amount of the alleged damages . . . the basis for the alleged damages . . . [and] the

precise methodology by which the damages were calculated”. (IBM Ex. 41, at 5.) SCO

responded that an answer to this interrogatory would be provided “in expert reports” (id.) but
none of SCO’s experts have even attempted to describe or quantify SCO’s interference damages.

Even if SCO’s newly-minted damage theories were considered, they still fail as a matter of law.

Argument
I. YBM DID NOT INTERFERE WITH ANY OF THE RELATIONSHIPS
IDENTIFIED BY Sco.
A. BayStar,

SCO addresses BayStar in a scant two paragraphs at the conclusion of its opposition
brief. (Opp’n at 53-54.) Mr. Goldfarb of BayStar testified unequivocally that no one from IBM
ever contacted him, and that every action BayStar took with respect to its investment in SCO was
done for reasons having “nothing whatsoever” to do with IBM. (Interference Br. at 19-20; YJ
46-48.) In response, SCO cites only the Declaration of Darl McBride, and all Mr. McBride can

say on the subject is that Mr. Goldfarb told him that IBM had been “on him, on him, on him”.
Case 2:03-cv-00294-DN Document 979-2 Filed 03/13/07 PagelD.15358 Page 11 of 48

(Opp’n at 19; SCO Ex. 165,929.) As pointed out in our opening memorandum, this is
inadmissible hearsay and cannot be relied upon to create a disputed issue of fact. (Interference
Br. at 37.) SCO’s opposition does not even mention IBM’s hearsay argument or attempt to
explain how this testimony possibly could be admissible.

But even if the statement upon which SCO relies was made — and the only credible,
admissible evidence proves that it was not — it still would not create a triable issue of fact. SCO
still must demonstrate that the supposed “on him, on him” statement raises a reasonable
inference that IBM engaged in misconduct and BayStar took some action because of that
misconduct. Mr. Goldfarb states without reservation that BayStar’s actions had “nothing
whatsoever” to do with IBM, something SCO does not (and cannot) dispute. (Interference Br. {
47(b).) Thus, even if IBM had been “on” Mr, Goldfarb (which it was not), the fact is that
BayStar redeemed its SCO shares, retired its SCO investment, and terminated its relationship
with SCO for business reasons of its own; namely, as Mr. Goldfarb explains in detail in his
declaration, because SCO tumed out to be a poorly run company. Thus, SCO neither provides
credible evidence that the statement was made nor raises a genuine issue with respect to the
effect of the statement, and its claim fails for both reasons.

B. Computer Associates, Qracle and Intel.

IBM submitted, in support of its motion, declarations from Computer Associates, Oracle
and Inte! —- disinterested third parties — making clear that IBM did not, as SCO contends,
encouragé them not to do business with SCO. Samuel Greenblatt, a senior vice president of
Computer Associates and attendee of the LinuxWorld 2003 convention, states without

reservation that no one from IBM communicated with anyone at Computer Associates, and that
Case 2:03-cv-00294-DN Document 979-2 Filed 03/13/07 PagelD.15359 . Page 12 of 48

Computer Associates has not in any way altered its relationship with SCO because of statements
or actions by IBM. (IBM Ex. 177 ff] 2-4.) Monica Kumar, Principal Manager of Oracle’s Linux
Program Office and Linux World 2003 attendee, likewise refuted SCO’s assertions with respect
to Oracle. {Interference Br. J 49(a).) Luann Gulesarian, the Strategic Relationship Manager in
Intel’s Sales and Marketing Group, and also an attendee at Linux World 2003, similarly testified
that SCO’s Intel claim has no basis in fact. (Interference Br. { 49(b).) Ms. Smith likewise
confirms that she never spoke with anyone from any of these companies about not doing
business with SCO. (Interference Br. {| 49(d).)

To avoid summary judgment, SCO argues that a jury might conclude that each of these
individuals is lying — that IBM really did contact them and encourage them not to do business
with SCO, despite their unequivocal and uniform denials. (See Opp’n at 48.) As support, SCO
does not offer contradictory testimony from an employee of these companies, documents
suggesting the alleged conduct occurred or even testimony from its own employees contradicting
these declarations. Instead, SCO argues that a jury might conclude these four individuals are
lying because after January 2003, each of these companies “further reduced their support for
SCO”. (Opp’n at 79.) Even the evidence SCO cites in support of its assertion that these
companies “further reduced their support” after January 2003, however, does not support this
point. On the contrary, SCO’s declarants Enk Hughes and Janet Sullivan both confirm in their
declarations that these companies reduced their support for SCO long before January 2003. Mr.
Hughes states that Inte} decreased its support beginning in 2001 — two years before LinuxWorld
2003 — and that “[s]upport from Intel for SCO has dwindled over the last several years”. (SCO

Ex. i, | 12 (emphasis added).) Ms. Sullivan states that “September 2001 is the last time Oracle
Case 2:03-cv-00294-DN Document 979-2 Filed 03/13/07 PagelD.15360 Page 13 of 48

announced a new Oracle database product was [sic] certified to a SCO product” (SCO Ex. 369, J
17), that “SCO’s business relationship with Oracle dwindled in the following years” (id. ] 20),
and that at some undefined time in 2003, “Oracle withdrew OpenUnix8 certification”. (Id.)
Thus, the evidence upon which SCO relies shows, at best, that SCO’s relationship with these
companies changed in 2001 —- years before LinuxWorld 2003. No jury reasonably could infer
from this that IBM contacted these companies in January 2003 — in the face of their
unequivocal denials — and SCO has therefore failed to raise a disputed issue of material fact.
Even if SCO could offer evidence that support from these companies was “further

reduced” after January 2003, it still would not raise a disputed issue of fact because SCO offers
no evidence that any such reduction was caused by IBM’s actions, Even if such a “reduction”
did occur in January 2003, one could just as easily (and with much more confidence) speculate
that it was caused by SCO’s public relations assault on Linux, which began at that time. Nor

' could a jury reasonably infer from Ms. Smith’s alleged conversation with Rick Becker of
Hewlett Packard (discussed below) that Ms. Smith must also have talked to Computer
Associates, Oracle and Intel about SCO. SCO’s “reasonable inferences” amount to nothing more

than sheer speculation. See Adams y. Washburn Univ. of Topeka, 66 Fed. Appx. 819, 823 (10th

Cir. 2003) (finding that “evidence of an opportunity to influence does not amount to evidence of
actual influence”, and “mere speculation about [a party’s] influence is not enough to demonstrate
a genuine issue of material fact”); Messer v. Amway Corp., 106 Fed. Appx. 678, 686 (1 0th Cir.

2004) (“mere speculation, conjecture, or surmise” cannot create a genuine issue of material fact

on summary judgment}; Conaway v. Smith, 853 F.2d 789, 793 (10th Cir. 1988) (“In a response

to a motion for summary judgment, a party camot rest on ignorance of facts, on speculation, or
_ Case 2:03-cv-00294-DN Document 979-2 Filed 03/13/07 PagelD.15361 Page 14 of 48

on suspicion and may not escape summary judgment in the mere hope that something will turn
up at trial.”’).

Because SCO has provided no competent evidence that IBM interfered with Computer
Associates, Oracle or Intel, and because each of these companies denies that such interference
occurred, SCO’s claim is untenable.

Cc. Hewlett Packard.

Although Karen Smith disagrees with Rick Becker of Hewlett Packard that she told him
IBM was cutting off all business ties to SCO, and suggested that Hewlett Packard do the same,

the following facts remain undisputed by SCO:

* Mr. Becker testified that as a result of his conversation with Ms. Smith he did

nothing more than decide cn
(Interference Br. ¢ 52); RE DACT ED

REDACTED

e Mr. Becker testified that, after the alleged conversation,
Unterference Br. 7 52);

¢ Hewlett Packard Vice President Joseph Beyers testified that Hewlett Packard
continues to this day to do business with SCO, and that any changes in the
business relationship between the two companies have nothing to do with IBM

(Interference Br. 4 53);

e SCO’s Rule 30(b)(6) witness and management-level employee Jeffrey Hunsaker

testified that SCO has
RE D AGTES (Interference Br. 4 54(b));
* SCO’s Gregory Anderson testified specifically about SCO’s relationship with
Hewlett Packard after the January 2003 LinuxWorld event, stating that
QANACTEN
(Interference Br. { 54(a)); vt we

* SCO itself continues to tout the relationship with Hewlett Packard as a
PEED B APES} (Interference Br.  54(c)); and

wet PA ee oF

* Hewlett Packard was the only “Platinum Sponsor” (the highest level) of its 2006
SCOForum event (Interference Br. 4 54(d)).
Case 2:03-cv-00294-DN Document 979-2 Filed 03/13/07 PagelD.15362 Page 15 of 48

SCO makes no effort to dispute any of these facts. Instead, it again insists that Hewlett
Packard “decreased its support of SCO” after January 2003. (Opp’n at 82.) SCO again cites the
Declaration of Erik W. Hughes to support this assertion, and once again his testimony fails to
support the proposition for which it is cited. Mr. Hughes did not testify that Hewlett Packard’s
relationship with SCO changed after January 2003. Instead, he testified that “HP an HV
(independent Hardware Vendor) continues to work with SCO as a Tier 2 vendor, but used to
work with SCO as a Tier 1 vendor” (SCO Ex. 1, ] 13), and that “HP’s support for SCO has also
declined in recent years” (id. 14 (emphasis added)). SCO also states that, at some undefined
point in the past, Hewlett Packard provided SCO — more likely, Santa Cruz — “with $1 million
annually in ‘market development funds’” but has reduced this amount to $100,000. (Id, at 14.)
This, of course, says absolutely nothing about Ms. Smith’s alleged conversation with Mr. Becker
in January 2003, which both Mr. Becker and Mr. Beyers testified had no effect whatsoever on
Hewlett Packard’s relationship with SCO. For the same reasons set forth above in connection
with BayStar, Computer Associates, Oracle and Intel, SCO has not and cannot show that [BM’s
alleged conduct — even if it occurred and even if could rise to the level of tortious interference

— had any effect on SCO’s business relationship with Hewlett Packard. SCO’s claim therefore

fails as a matter of law.

D. OpenSource Conference in Scottsdale, Arizona,

In support of its motion, IBM submitted the declaration of John Terpstra, in which he
testified that IBM did not contact him and that his decision not to have Mr. McBride speak at his

OpenSource conference had nothing to do with IBM. (Interference Br. 55.) On the strength of

this declaration, SCO now abandons its claim with respect to Mr. Texpstra:
Case 2:03-cv-00294-DN Document 979-2 Filed 03/13/07 PagelD.15363 Page 16 of 48

[1Jn light of Mr. Terpstra’s declaration submitted in support of
IBM [sic] motion for summary judgment, SCO is not pursuing this
aspect of its claim.

(Opp’n at 72.) As discussed above, IBM submitted substantively identical declarations from
each of the companies with whom SCO alleges IBM interfered. Each testified that the conduct
about which SCO complains did not occur and that IBM did not cause any of them to change
their business relationships with SCO. (Interference Br. {J 46-61.) SCO fails to explam why
Mr, Terpstra’s testimony is sufficient to cause it to abandon its claim, but essentially identical
testimony from other companies does not lead to the same result. By dropping its claam with
respect to Mr. Terpstra’s OpenSource conference, SCO effectively concedes that its interference

claims with respect to the other companies it has named must likewise fail.

E. Novell.

1. SCO Did Not Identify Novell As an Entity With Whom IBM

Allegedly Interfered,

As pointed out in IBM’s opening memorandum, SCO, in responding to IBM’s
interrogatories, informal requests and Court orders, never properly identified Novell as an entity
with whom IBM supposedly interfered. (Interference Br. ff 15, 33, 39.) In its opposition
memorandum, SCO fails in the initial statement of facts and the argument sections even to
attempt a response to this deficiency. Instead, SCO admits that it failed to identify Novell in its
supplemental response to IBM’s Interrogatory No. 8, but states, in one sentence contained in
Appendix A (its Response to IBM’s “Statement of Undisputed Facts”) that,

SCO had fully already fully [sic] explamed IBM’s interference
with Novell in prior interrogatory responses. (IBM Ex. 3; IBM Ex.

36 at 29-31). SCO expressly incorporated this prior interrogatory
response into its answer. (IBM Ex. 46 at 1, n1.)

(Opp’n at 72-73.) SCO is simply wrong.

10.
Case 2:03-cv-00294-DN Document 979-2 Filed 03/13/07 PagelD.15364 Page 17 of 48

Without repeating the long history of SCO’s refusal to provide timely and complete
infonnation regarding its interference claims, and its constant reinvention of those claims, the
following abbreviated sequence of events illustrates why IBM was justified in believing that
SCO was not asserting an interference claim with respect to Novell, and why SCO should not be
permitted to do so now. IBM’s Interrogatory No. 8 was included in IBM’s first set of
interrogatories of June 13, 2003. Interrogatory No. 8 asked SCO, among other things, to identify
“all agreements” with which SCO alleges IBM interfered, as well as related details, persons
involved and specific information about the alleged interference. (Interference Br. 4] 39.) Some
two and one-half years later, after intervening Court orders, informal requests by IBM, confusing
and inconsistent supplemental answers to interrogatories by SCO and a series of Rule 30(b)(6)
depositions in which SCO witnesses were unprepared, SCO was obligated by December 22,
2005, to update and supplement its responses to interrogatories, including Interrogatory No. 8.

SCO did not supplement its answers by the Court-ordered deadline. Instead, on
December 28, 2005, counsel for SCO informed IBM that the list of interference claims would

-include six companies: BayStar, Hewlett Packard, Oracle, AutoZone, Intel and Novell. (IBM
Ex. 7094.) On January 13, 2006, SCO served a revised Supplemental Response to
Interrogatory No. 8. (Interference Br. ] 35.) The Supplemental Response fisted six companies,

as SCO’s counsel represented it would: BayStar, Hewlett Packard, Computer Associates,
Oracle, Intel and John Terpstra’s OpenSource Conference. The Supplemental Response,
however, omitted AutoZone and Novell and added Computer Associates and the OpenSource

. Conference. (Interference Br. } 36.) Six months later, and after fact discovery had closed,

counsel for SCO confirmed that the Supplemental Response was complete, that it superseded all

1!
Case 2:03-cv-00294-DN Document 979-2 Filed 03/13/07 PagelD.15365 Page 18 of 48

prior responses to Interrogatory No. 8, and that SCO had no plan to update the Supplemental

Response. (Interference Br. 42.)

SCO attempts to explain its failure to identify the Novell interference claim properly by
pointing to a footnote in the Supplemental Response, which purports to incorporate virtually all

of SCO’s prior responses, filed over the course of approximately two and one-half years and

none of its

comprised of hundreds of pages of material. (IBM Ex. 46 at 1, n. 1.)? However, in
ptior responses to Interrogatory No. 8 did SCO identify Novell or the Asset Purchase Agreement.
(See SCO Exs. 31-33, 46.) Moreover, those prior discovery responses contain conflicting and
contradictory answers conceming SCO’s interference claim. As explained in IBM’s opening
brief, SCO’s list of companies expanded and contracted, sometimes wildly, yet SCO purports to
have incorporated all of those responses by footnote. SCO does so even though its counsel
specifically represented that SCO intended to limit its claim to six companies, and expressly
stipulated that the Supplemental Response superseded its prior responses. Under these
circumstances, SCO’s attempt to incorporate by footnote all of its prior, contradictory discovery

responses fails to provide IBM with sufficient notice of SCO’s allegations and evidence with

2 The footnote reads as follows:

SCO hereby incorporates by reference SCO’s responses and objections from 5CO’s
Responses to IBM’s First Set of Interrogatories and First Request for the Production of
Documents dated August 4, 2003; Supplemental Response to Defendant’s First Set of
Interrogatories dated October 29, 2003; Response to IBM’s Second Set of Interrogatories and
Second Set of the Production of Documents dated October 29, 2003; Revised Supplemental
Response to IBM’s First and Second Set of Interrogatories dated January 15, 2004; Response to
IBM’s Third Set of Interrogatories dated April 19, 2004; Letter dated April 19, 2004, from B.
Hatch to T. Shaughnessy; Amended Responses to IBM’s Fourth Set of Interrogatories dated June
25, 2004; Responses to IBM’s Fifth Set of Interrogatories dated September 8, 2004; and
Responses to IBM’s Sixth Set of Interrogatories and Sixth Request for Production of Documents
dated March 2, 2005 (collectively, SCO’s “prior Responses to [BM’s Interrogatories”).

12
Case 2:03-cv-00294-DN Document 979-2 Filed 03/13/07 PagelD.15366 Page 19 of 48

respect to Novell, particularly since none of SCO’s prior answers to Interrogatory No. 8 identify
Novell or the Asset Purchase Agreement as a relationship with which IBM interfered.

The only interrogatory answer that SCO identifies as having put IBM on notice of its
Novell interference claim is SCO’s Response to IBM’s Third Set of Interrogatories (April 19,
2004 (“the Response to [BM’s Third Set”)). There, SCO provided information in answer to
IBM’s Interrogatory No. 14, which states, “Please describe, with specificity and in detail, all
facts concerning each affirmative defense asserted in SCO’s Answer to IBM’s Amended
Counterclaims”. (IBM Ex. 36 at 4.) Information with respect to Novell was provided as an
explanation of SCQ’s affirmative defense that “IBM’s claims are barred by illegality, collusion,
conspiracy and/or lack of clean hands”. (Id. at 20.) SCO’s explanation of the purported basis for
an affirmative defense does not provide IBM notice of SCO’s intent to assert an affirmative
claim for relief, and is not the equivalent of the specific information regarding the identity of and
evidence claimed to support the interference claims that was sought by IBM’s Interrogatory
No. 8.

Finally, SCO attempts to excuse its failure to include the Novell claim in its
Supplemental Response by stating that the Supplemental Response was only intended to identify
the scope of its Seventh Cause of Action (Interference with Contract) and its Ninth Cause of
Action (Interference with Business Relationships). (Opp’n at 72.) SCO’s explanation fails. At
the time that the Supplemental Response was served in January 2006, SCO was under a Court-
ordered obligation to supplement its answers to all interrogatories. IBM’s Interrogatory No. 8
did not limit its requests for information to any specific claim or cause of action. The

interrogatory sought information on “all agreements with which plaintiff alleges IBM

13
Case 2:03-cv-00294-DN Document 979-2 Filed 03/13/07 PagelD.15367 Page 20 of 48

interfered”, and SCO was not at liberty to pick and choose which agreements and interference
claims it would include. (Interference Br. ] 39.) Moreover, SCO’s counsel represented that this
claim would be limited to six companies, Novell among them, and that it would supplement its
answer to Interrogatory No. 8. (Interference Br. | 34.) Two weeks later, SCO served its
Supplemental Responses, which identified six companies, and Novell was not among them.
(Interference Br. 7 36.) On this basis alone, IBM was justified in concluding that SCO had
decided not to pursue an interference claim related to Novell, just as it had decided not to pursue
an interference claim related to AutoZone (one of the other companies SCO dropped from its
Supplemental Responses}.

SCO’s failure to provide information regarding the Novell claim is yet another example
of a discovery strategy which, if not intentionally designed to do so, certainly resulted in IBM
being left entirely in the dark. For this reason alone, IBM is entitled to summary judgment on

SCO’s Novell claim.
2. SCO Has Failed to Establish a Genuine Issue of Material Fact

With Respect to [BM’s Alleged Interference With Novell.

{n support of its motion, IBM submitted the declaration of Joseph LaSala, which

demonstrates that SCO’s Novell claim is unfounded. (Interference Br. ff 59-61.) Recognizing it
is fatal to SCO’s claims, SCO urges the Court to disregard the LaSala declaration. (Opp’n at 50-
. 31.) According to sco, Mr. LaSala lacks personal knowledge because he was employed by
Novell beginning in 2001, and his declaration addresses events that occurred prior to that time.
That is wrong. The portions of Mr. LaSala’s declaration cited in support of this motion involve
events that occurred in 2003, during the time Mr. LaSala was employed by Nevell as its Senior

Vice President and General Counsel. (Interference Br. J] 59-61; Opp’n at 50 n.9.) They are

14
Case 2:03-cv-00294-DN Document 979-2 Filed 03/13/07 PagelD.15368 Page 21 of 48

therefore based on his personal knowledge, or knowledge he is presumed to possess as an officer
of the corporation, as explained below.

Mr. LaSala’s declaration may also be considered for events that occurred prior to his
employment because it clearly states that it is submitted on Novell’s behalf and that its contents
are “based on Novell’s knowledge”. (IBM Ex. 240 ] 4.) Nothing in the Federal Rules of Civil
Procedure prohibits a corporation from submitting a declaration through a representative who is
authorized to bind the corporation. In fact, the Rules specifically contemplate that a duly-
appointed representative can testify on behalf of a corporation “as to matters known or
reasonably available to the organization”. Fed. R. Civ. P. 30(b\(6). Such testimony is
admissible in support of a motion for summary judgment’ Because the Rules allow a
corporation to present a designated witness to testify as to the corporation’s knowledge, a
corporation may similarly present its corporate knowledge in the form of a declaration executed

by an authorized representative.’ As Senior Vice President and General Counsel of Novell, Mr.

* 11 J. Moore, Moore’s Federal Practice — Civil § 56.14 (“The testimony of a Rule 30(b}(6)

corporate agent deponent may be presented on a motion for summary judgment, even though not
based on personal knowledge, because a Rule 30(b){6) witness need not have personal
knowledge of the facts to which he or she testifies.”); see also PPM Fin., Inc. y, Norandal, USA,
Inc,, 297 F. Supp. 2d 1072, 1085-1086 (N.D. Ill. 2004) (Fed. R. Civ. P. 30(b)(6} witness testifies
as to corporation’s position and knowledge, which is not necessarily within personal knowledge

- of witness).

* In fact, it is not uncommon for courts to order a corporation to submit a declaration based
on the corporation’s knowledge. See OKI Asm., Inc. v. Advanced Micro Devices, Inc., Civ. 04-
3171, 2006 WL 2547464, at *2 (N.D. Cal. Aug. 31, 2006) (ordering a corporation to provide “a
sworn declaration from a witness authorized to bind the corporation”) (Addendum C hereto).
Furthermore, corporate officers are presumed to have personal knowledge of acts of their
corporation. See 11 J. Moore, Moore’s Federal Practice — Civil § 56.14. This is true even where
the corporate officer learned of the facts contained in the declaration after they had occurred.
Personal knowledge in this context does not require contemporaneous knowledge. Dalton v.
FDIC, 987 F.2d 1216, 1223 (Sth Cir. 1993) (finding affidavit of corporate officer was not
defective sumply because he learned of transaction after it had occurred).

i5
Case 2:03-cv-00294-DN Document 979-2 Filed 03/13/07 .PagelD.15369 Page 22 of 48

LaSala is Novell’s chief legal officer and is presumed to have personal knowledge of Novell’s
affairs, particularly those relating to legal issues.

SCO next objects to Mr. LaSala’s deciaration on the grounds that IBM asserted a
common interest privilege at the Rule 30(b){6) deposition of IBM’s Scott Handy, and thereby
supposedly prevented SCO from exploring the reasons behind Novell’s assertion of its rights
under the Asset Purchase Agreement. (Opp’n at 51.) SCO’s objection is unfounded. First, Mr.
Handy testified at length about his knowledge of and efforts to determine whether anyone at
IBM had spoken with anyone at Novell about the Asset Purchase Agreement and about the
reasons for IBM’s $50 million investment in Novell, the Rule 30(b)(6) topics for which he was
designated to testify. (See SCO Ex. 306 at 22-23, 63-65.) Second, counsel for IBM properly
invoked the attorney client, work product and common interest privileges only as to
communications between IBM’s lawyers and Novell’s lawyers. (Id. at 59.) IBM’s motion does
not rely on any such communications, and SCO’s claim that IBM has used the privilege as “both
a sword and shield” (Opp’n at 51) is therefore wrong. Third, Mr. Handy ultimately testified that

" he was unaware and had no knowledge of any such communications. (See SCO Ex. 306 at 60.)

Fourth, if SCO had been dissatisfied in any way with Mr. Handy’s supposed lack of preparation

or knowledge, SCO has waived any such complaint. The parties’ March 17, 2006, Stipulation re

Discovery reserved either party’s right to bring motions to compel regarding, among other
things, privilege logs “or other privilege issues”. (Docket No. 651  5(d).) Despite reserving the
right to do so, SCO chose not to pursue any motions to compel on this issue. Finally, if SCO had

been dissatisfied with its inability to ask questions of Mr. Handy, it certainly was not prevented

16
Case 2:03-cv-00294-DN Document 979-2 Filed 03/13/07 PagelD.15370 Page 23 of 48

from seeking that information from other witnesses and potential deponents -—- including Mr.
LaSala himself.

In its substantive argument regarding the Novell claim, SCO repeatedly and with
unfounded presumption refers to “false contractual assertions” and “false assertions” that were
allegedly “induced” by IBM. (Opp’n at 51, 52.) As support, SCO again fails to cite any
evidence of any communications between IBM and Novell on this subject, but instead relies on
hearsay and speculation. For example, SCO states, “In fact, it was Mr. McBride’s impression
that Ms. Smith implied that someone from IBM had asked Novell whether Novell, or SCO, held
the copyrights.” (Opp’n at 52 (emphasis added).) SCO relies upon Mr. McBride’s hearsay
“impression” about something he believes that Ms. Smith “implied” — but did not state — abont
something that “someone” — not identified — asked of Novell. In addition to bemg
inadmissible, the question remains: So what? Even if “someone” from IBM asked Novell about
its ownership of the UNIX copyrights, it does not follow that such an imocuous question is

. evidence of interference and inducement by IBM. As unequivocally established by the
declaration of Mr. LaSala, the facts are that IBM did not interfere with Novell, and that Novell
was not induced by [BM to assert its rights under the Asset Purchase Agreement.

Again relying upon inadmissible hearsay, SCO cites Mr. McBride’s declaration in which
he refers to supposed statements made and matters “implied” by “Noveli executive” Greg Jones.
sco does not further identify Mr. Jones; nor dees SCO explain why anything that Mr. Jones
supposedly said or did should be indicative of what Novell as a company thought, and why
Novell as a company acted as it did. In attempting to link IBM to Mr. Jones, SCO states,

Mr. Jones implied that Novell had discussed the issue with IBM,
but he would not directly answer Mr. McBride’s question, and

17
Case 2:03-cv-00294-DN Document 979-2 Filed 03/13/07 PagelD.15371 Page 24 of 48

ultimately refused to say anything about the matter without an
attorney present. A jury can reasonably that [sic] IBM caused
Novell’s change in position with regard to SCO’s ownership of

the copyrights.

(Id. at 53 (emphasis added).) Here, SCO relies not only on inadmissible hearsay, but also on Mr.
McBride’s subjective belief about something the hearsay declarant “implied”. Such “statements”
do not create genuine issues of material fact.

Even if it is assumed, however, that someone from IBM contacted someone at Novell to
discuss Novell’s copyrights, SCO has failed to demonstrate a reasonable basis for a jury to
conclude that this contact caused Novell to act as it did. As with IBM’s discussion of Hewlett

- Packard above (where at least SCO points to an alleged communication between employees of
the two companies), a duly qualified, disinterested representative of Novell has stated that Novell
acted because it owns the copyrights, because it has a right of waiver under the Asset Purchase
Agreement and because it is in Novell’s own interest to exercise those rights. (Interference Br. ¢
61.)° Mr. LaSala further states that IBM did not have the ability to require Novell to act, that
IBM did not force or pressure Novell to act and that Novell acted independently of IBM. (1d.)
SCO has failed to put up a viable declarant to counter Mr. LaSala’s declaration testimony, just as
it has failed to point to any other admissible evidence which would raise a genuine issue of fact.

As with its other interference claims, SCO’s Novell claim fails for this additional reason.

* SCO tries in vain to make much of IBM’s $50 million investment in Novell, which was
used to help facilitate Novell’s acquisition of SuSE, a Linux distributor. (Opp’n at 24-25,
Interference Br. 60.) SCO, however, fails to cite the deposition of IBM’s Scott Handy in which
he explained in detail all of the reasons why IBM made that investment, none of which had
anything to do with SCO or with any of the claims in this lawsuit. (IBM Ex. 306.) Agaim, SCO
ignores dizect testimony and evidence on the subject and asks the Court instead to indulge its
fanciful speculation about what “must” have occurred.

18
Case 2:03-cv-00294-DN Document 979-2 Filed 03/13/07 PagelD.15372 Page 25 of 48

F. “UNIX-on-Intel’ Market.

As demonstrated in IBM’s opening memorandum, and contrary to SCO’s assertion that

IBM failed to cite any authority for its position, Utah does not recognize a claim for “indirect

interference” or “interference with the market”. See, e.g., Leigh Furniture & Carpet Co. y. Isom,
657 P.2d 293 (Utah 1982); Bower v. Stein Eriksen Lodge Owners Ass’n,. Inc., 201 Fed. Supp.

2d 1134 (D. Utah 2002). (Interference Br. at 48.) Notably absent from SCO’s opposition is
reference to a single case, from Utah or anywhere else, that has recognized such a claim. SCOQ’s
“interference with the market” theory is entirely speculative, and SCO fails to establish a genuine
issue of material fact with respect to intentional conduct, actual interference or a protected
business interest with which IBM improperly interfered.

SCO begins its argument with the surprising (but unavoidable and accurate) concession
that IBM’s Linux strategy was, in fact, an effort to compete with Sun and Microsoft. (Opp’n at
31.) It is undisputed that the conduct SCO challenges in this claim was not undertaken by IBM
in an effort to compete with SCO at all. This acknowledgement of IBM’s legitimate interest in
competing in the marketplace is actually less dramatic than statements made by SCO’s own
expert, Dr. Gary Pisano, in his reports of May 19, 2006 and August 28, 2006. Dr. Pisano argues
that IBM adopted its Linux strategy in the late 1990s in an effort to compete with Sun and

Microsoft and that SCO’s declining revenues were caused by competition from Linux:

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(SCO Ex, 284 at 5.)
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(fd. at 15.)
Case 2:03-cv-00294-DN Document 979-2 Filed 03/13/07 PagelD.15373 Page 26 of 48

(Id. at 21.)
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{SCO Ex. 286 at 41.)
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SEDAUTED da, 24)
Dr. Pisano unqualifiedly describes IBM’s conduct as competition. When SCO realizes that it
lacks an essential element of its “interference with the market” claim, and that its claim is subject
to the defense of privileged competition, that same conduct inexplicably becomes intentional
interference.

SCO has fatled to demonstrate that it had a single, specific contract or an identifiable
prospective relationship with a UNIX customer that was subjected to interference by IBM.
Given the statistics which SCO proudly touts as evidence of its prior “dominance” of the
“UNIX-on-intel” market, it is frankly incredibie that SCO cannot locate a single customer who
will step forward and say, “I was a loyal SCO UNIX customer until IBM.came along with its
Linux sizategy and support. I was then forced to switch to Linux”. While even that hypothetical
statement would not give rise to a claim for tortious interference, the existence of such a
customer would at least lend some credence to SCO’s claims. The glaring absence of such a
customer is telling.

Utah case law on tortious interference consistently recognizes the value of competitive
activity which takes place in the “rough and tumble of the marketplace”. See Leigh Furniture,

657 P.2d at 307. Even if SCO could establish that it had contracts or relationships in the “UNIX-

on-Intel” market, IBM had a legitimate interest in competing for the future business of al} of

20
Case 2:03-cv-00294-DN Document 979-2 Filed 03/13/07 PagelD.15374 Page 27 of 48

those customers. In St. Benedict’s Dev. Co. v. St. Benedict’s Hosp,, 811 P. 2d 194 (Utah 1991),
for example, the plaintiff claimed that the defendant developer of a new office building had
intentionally solicited plaintiff's tenants in an existing building to move to defendant’s new
building when the tenants’ leases expired. In analyzing whether the intentional solicitation
constituted tortious interference, the Utah Supreme Court noted:

Similarly, Boyer, a commercial enterprise and stranger to any

contract between the hospital and the development company, has a
legitimate interest in competing for the future business of the

development company’s tenants.

811 P. 2d at 201 (emphasis added). According to the Utah Supreme Court, the loss of plaintiff's
tenants was an “inevitable by-product of competition” and not tortious interference. Id, at 201.
Here, IBM competed with Sun and Microsoft. SCO alleges that such competition, by extension,
affected SCO and resulted in lost “UNIX-on-Intel” customers. Even if that assertion could be
proven by competent evidence — which SCO has failed to do — the loss of SCO customers is

nothing more than the “inevitable by-product of competition”, and like the plaintiff's in St.

Benedicts, 5CO’s claims fail as a matter of law.

The importance of preserving the right of a commercial enterprise to compete in the

inarketplace is further underscored by Prosser, whe writes:

Where the contract interfered with is-terminable at will, however,
the privilege of competition has been recognized. In such a case
there is no contract right to have the relation continued, but only an
expectancy, which is similar to the expectancy of a business that a
customer will continue to do business with it. With such an
expectancy of future relations, and prospective advantage, there
has been no doubt that a competitor has the privilege of interfering
to acquire business for himself. Accordingly, the considerable
weight of authority holds that there is a privilege of competition
which extends to inducing the termination of agreements
terminable at will, whether they concern employment or other

21
-Case.2:03-cv-00294-DN Document 979-2 Filed 03/13/07 PagelD.15375 Page 28 of 48

relations. On the same principle, the defendant may protect its
legitimate interests, which are not limited to purely competitive
interests, by interference with the plaintiff's mere prospects for

business.
W. Page Keeton, ed., Prosser and Keeton on the Law of Torts, 987-88 (Sth ed. 1984). SCO had,
at most, expectations of continued sales of UNIX products and services to its customers. Such
expectations are not protected from competitive activity by IBM, Microsoft, Sun or any other

commercial enterprise.

In attempting to prove that IBM’s once competition and now alleged interference was

intentional, SCO cites the Utah Court of Appeals decision in Mumford v. ITT Commercial Fin.

Corp., 858 P.2d 1041 (Utah Ct. App. 1993):

The tort of interference with economic relations is an intentional
tort. However, even if the defendant does not act for the purpose
of interfering or does not desire it but knows that the interference is
substantially certain to occur as a result of the defendant’s action
and is a necessary consequence thereof, the interference is
intentional.

(Opp’n at 32 (quoting Mumford, 858 P.2d at 1044).) But even under this standard, SCO stil] has
failed to demonstrate that mterference with SCO’s business relationships was “substantially
certain” to occur and was a “necessary consequence” of IBM’s actions.

SCO has not shown that 1BM’s efforts to compete with Sun and Microsoft would, with
substantial certainty and as a necessary consequence, result in interference with SCO. Is it
possible that SCO would be harmed by such competition? Perhaps. Is it equally possible that
SCO, which was founded as a Linux company, would benefit by such competition? Absolutely.
SCO, after all, acquired the UNIX assets for the purpose of enhancing its Linux business. (IBM
Ex. 221 fff 85, 87-92.) If, as SCO alleges, it dominated the “UNIX-on-Intel” market, and if SCO

22
... Case 2:03-cv-00294-DN. Document 979-2 Filed 03/13/07. PagelD.15376 Page 29.of 48

likewise was well positioned in the Linux for business market, SCO more than anyone stood to

benefit by improvements to Linux. Therefore, SCO has failed to establish that, even under the

- Mumford standard, IBM’s actions were intentional.

The only cases SCO cites to support its “interference with the market” theory are Leigh
Furniture and Mumford. Neither case, however, supports SCO’s position. In Leigh Furniture,
the defendant engaged in a campaign of harassment specifically directed at and designed to
interfere with the operation of plaintiff’s furniture store. Leigh Furniture, 657 P.2d at 306.

Similarly, the defendant in Mumford refused to give the plaintiff access to equipment the
Mumford, 858 P.2d at

plaintiff needed to fulfill specific contracts he had signed to haul boats.
1043. The defendant in Leigh Furniture did not interfere with the “retail furniture market” in
general and thereby affect plaintiff’s furniture store, and the defendant in Mumford did not
interfere with the “boat-hauling market” in general, and thereby affect plaintiffs boat-hauling
contracts, Yet those scenarios would be essential for either case to support SCO’s “interference
with the market” theory. Instead, in each instance, there was evidence of conduct which the
defendant directed at the plaintiff or at an identifiable, protected business interest of the plaintiff.
in other words, direct conduct is required; indirect conduct will not suffice.

The case closest to this one is Judge Campbell's decision in Bower v. Stein Enckson
Lodge Owners Ass'n, 201 F. Supp. 2d 1134 (D. Utah 2002). There, the defendant constructed an
adjacent building that allegedly blocked the plaintiff's views, and the plaintiff claimed that the
“obstructed view lowers both the fair market value and the rentability of [its] condominium”. Id.
at 1143. In effect, the plaintiff claimed that the defendant had interfered with the future market

for condominium rentals, and such interference damaged the plaintiff. The defendant argued,

23
Case 2:03-cv-00294-DN Document 979-2. Filed 03/13/07 - PagelD.15377 Page 30 of 48

among other things, that it “cannot intentionally interfere with a third party relationship without
any knowledge of or notice of a third party relationship” and that “any future interference with
renters caused by the construction is speculative”. Id. Judge Campbell agreed and granted

summary judgment because “the [plaintiff's] allegations of interference with a third party and

damages are too speculative”. Id, Here, as in Bower, IBM did not engage in any conduct

directed at SCO or an identifiable business interest of SCO. Just as the existence of unidentified

potential condominium renters or buyers was too speculative to constitute a protected economic

interest in Bower, the unidentified, potential and speculative “UNIX-on-Intel” customers of SCO

do not amount to a protected economic interest here.‘

In two instances in its brief, SCO attempts to persuade the Court that Bower does not

apply. (Opp’n at 34-35, 38.) SCO first attempts to distinguish Bower by asserting (without
citing any evidence in the record) that “IBM knew of the strength of SCO’s business relations m
the Intel market and the nature of those relationships”, which SCO believes is sufficient to
establish intentional interference. (Opp’n at 35.) But SCO ignores the quote from Mumford that
appears three pages earlier in its brief, stating that the defendant must know that interference is
“substantially certain to occur” and is a “necessary consequence” of defendant’s action. See
Mumford, 858 P.2d at 1044. Even if IBM knew the “strength” or “nature” of SCO's business

relationships, that does not mean IBM knew that interference was “substantially certain to occur”

Allowing SCO to proceed with its interference with the market theory would put SCO m
the untenable position of having no proof that IBM interfered with, for example, Intel, Oracle or
Computer Associates (for the reasons described above), yet recovering damages from IBM for
interference with those very companies under the guise of interference with the market as a
whole. SCO’s “interference with the market” theory is therefore simply a device designed to
circumvent its inability to prove its interference claims.

24
Case 2:03-cv-00294-DN Document 979-2 Filed 03/13/07 PagelD.15378 Page 31 of 48

as a “necessary consequence” of IBM’s actions, and SCO offers no proof otherwise. In addition,

SCO’s attempt to distinguish Bower ignores a fundamental flaw identified by the Bower court: a

plaintiff cannot recover for intentional interference with economic relations when the plaintiff
cannot establish the existence of actual third parties with whom the defendant intentionally
interfered. SCO admits it cannot “possibly identify” such third parties in this case. (Opp’n Br.
at 34.)

SCO also argues that IBM has “mis-cited” Bower because there the “[p]laintiff’s theory
of recovery was prospective: namely that the defendant’s construction would injure its future
economic relations”, whereas here, “SCO has not relied on such a prospective theory”. (Opp’n
at 38.) In doing so, SCO concedes Bower would be dispositive if SCO’s claim were based on
interference with prospective business refationships (rather than existing ones), but again, SCO
claims it “has not relied on such a prospective theory”. This is incorrect. In SCO’s
Supplemental Response, the first sentence describing its “interference with the market” theory
siates: “IBM has interfered with SCO’s prospective business relationships in the market for

" ‘UNIX operating systems on the 32-bit Intel architecture”. (IBM Ex. 46 at 7 (emphasis added).)
The response goes on to identify some 156 “Linux users”, not one of whom is a former SCO
customer, and ail of whom are, at best, only “prospective” customers of SCO. (Id. at 11-13.)

SCO’s concession that Bower applies to claims for interference with prospective economic

relations not only demonstrates that IBM has not “mis-cited” Bower, but also defeats SCO’s

“interference with the market” theory.

In short, SCO fails to cite a single case which has recognized “interference with the

market” as a viable claim, and the Utah cases discussed above and in IBM’s opening brief

25
Case 2:03-cv-00294-DN Document 979-2 Filed 03/13/07 PagelD.15379 Page 32 of 48

demonstrate that Utah recognizes no such claim. SCO offers this Court no good reason why it
should expand Utah law on tortious interference to recognize such speculative claims,
particularly where, as here, SCO admits that IBM’s conduct was motivated by a desire to

compete with companies other than SCO.

FI. IBM DID NOT ACT WITH AN IMPROPER PURPOSE OR BY IMPROPER
MEANS, AND IBM’s ALLEGED CONDUCT IS PRIVILEGED.

Even if SCO could show that IBM intentionally interfered, “directly” or “indirectly”,
with SCO’s economic relationships, it cannot show that IBM did so for an improper purpose, or

acted by improper means, and in any event, IBM’s conduct is privileged. For these additional

reasons, IBM is entitled to summary judgment.

A. SCO Cannot Show An Improper Purpose.

To establish an improper purpose under Utah law, SCO would have to show that IBM
acted with ill will towards SCO, amounting to a desire to harm SCO purely for harm’s sake, and
that such ill will predominated over all other purposes, including IBM’s long-range economic
goals. See Leigh Furniture, 657 P.2d at 311; Sampson v. Richins, 770 P.2d 998, 1003 (Utah Ct.
App. 1989). Leigh Furmiture provides a useful illustration of the burden SCO faces in making
such a claim. There, the counterclaim-defendant, Leigh Furniture, engaged. in a four-year
campaign of harassment and intimidation designed to force the counterclaim-plaintiff, Isom, out
of business. Leigh Furniture’s goal was to terminate Isom’s long-term lease on property Leigh
Furniture owned, thereby allowing Leigh Furniture to sell that property for more money. Leigh
Furniture’s employees, among other things, harassed Isom’s customers, continually confronted
him, repeatedly interrupted his sales activities, caused customers to leave his store, made

unreasonable demands for audits of his books and records, forced Isom to defend multiple,

26
Case 2:03-cv-00294-DN Document 979-2 Filed 03/13/07 PagelD.15380 Page 33 of 48

groundless lawsuits and breached its agreements with him. See Leigh Furniture, 657 P.2d at

306. The conduct was so egregious that the Utah Supreme Court not only upheld an award of
punitive damages, but also reversed the trial court’s remittitur of those damages. Id, at 310. But
even on these facts, the Utah Supreme Court held that Isom could not show an improper purpose.
Although there was “substantial evidence that [Leigh Furniture] deliberately injured Isom’s
economic relations”, that conduct “was an intermediate step toward achieving the long-range
financial goal of profitably reselling the building free of Isom’s interest”. Id. at 308. “Because
that economic interest seems to have been controlling, we must conclude that the evidence in this
case would not support a jury finding that [Leigh Furniture’s] predominate purpose was to injure
or ruin Isom’s business merely for the sake of injury alone”. Id.

Faced with this standard, SCO makes no effort to claim that IBM’s “interference with the
market” was done for an improper purpose.’ SCO does argue that IBM’s alleged interference
with Hewlett Packard and Novell was for an improper purpose.* SCO’s evidence, however, does

not even begin to meet its burden.

With respect to Hewlett Packard, SCO first quotes Mr. Becker’s testimony,

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7 Indeed, SCO could not do so because, as discussed above, SCO’s own expert admits that
IBM’s “purpose” was to compete with Sun and Microsoft, not to harm SCO purely for harm’s

sake. (SCO Ex. 284 at 5; SCO Ex. 286 at 41.) —

® SCO’s opposition memorandum says nothing about improper purpose, or improper
means, with respect to its claims regarding BayStar, Computer Associates, Oracle and Intel. For
this reason alone, summary judgment should be granted on those claims. But by no stretch of the
mmagination could SCO possibly show improper purpose with respect to these claims.

27
Case 2:03-cv-00294-DN Document 979-2 Filed 03/13/07 PagelD.15381 Page 34 of 48

and then SCO states, remarkably, that “[s]tanding alone this evidence is sufficient to preclude
summary judgment”. (Opp’n at 48 (quoting SCO Ex. 118 at 55:6-11).) Even construed in the
light most favorable to SCO, this does not begin to show that IBM desired to harm SCO for
harm’s sake (let alone that i}} will predominated over ali other economic motives). On the
contrary, if accepted as true, it shows that Ms. Smith was motivated by long-range business
interests — specifically “the best outcome for our joint Linux initiatives”. SCO’s argument with
respect to Novell's allegedly improper purpose is even worse. Here, SCO jettisons its summary
judgment burden entirely — acknowledging that it has no evidence of IBM’s intent, SCO simply
states that “what motivated IBM’s conduct is for a jury to decide”. (Opp’n at 52.) As the Utah
cases make plain, if IBM’s conduct had been motivated by a long-term business interest, and
even SCO’s version of events shows that clearly was the case, then SCO cannot satisfy the
improper purpose prong, as articulated by the Utah Supreme Court in Leigh Fumiture.

B. SCO Cannot Show Improper Means,

SCO likewise cannot show improper means. To satisfy this requirement, the means used
to interfere with a party’s economic relations must be contrary to iaw, “such as violations of
statutes, regulations, or recognized common-law rules”. Leigh Fumiture, 657 P.2d at 308.

With respect to SCO’s “direct” interference claims, SCO does not even attempt to argue
that IBM’s alleged conduct — persuading Computer Associates, Oracle and Intel not to do
business with SCO, encouraging BayStar to withdraw its investment in SCO and encouraging

Novell to assert ownership of the UNIX copyrights — violates any statute, regulation or

28
Case 2:03-cv-00294-DN Document 979-2 Filed 03/13/07 PagelD.15382 Page 35 of 48

common law rule. It therefore cannot show improper means, and its “direct” mterference claims

fail as a matter of law?

With respect to SCO’s “interference with the market” claim, SCO argues that IBM’s
actions satisfy the improper means prong because IBM (1) breached the IBM/AT&T license
agreements, (2) violated SCO’s copyrights and (3} committed the common law tort of unfair
competition. (Opp’n at 39.) These allegedly improper means fail as a matter of law for the

reasons discussed in IBM’s pending motions with respect to each of these claims. They also fail

as a matter of law for the following reasons:

1. IBM?’s Alleged Breach of Contract Does Not Constitute

Improper Means.

Under Utah law, “a deliberate breach of contract, even where employed to secure
economic advantage, is not, by itself, an ‘improper means.’ Because the law remedies breaches
of contract with damages calculated to give the aggrieved party the benefit of the bargain, there
is no need for an additional remedy in tort (unless the defendant's conduct would constitute a tort
independent of the contract)”. See Leigh Furniture, 657 P.2d at 309. Instead, for a breach of
contract fo rise to the level of improper means, SCO must show that IBM’s breach of contract

was deliberate, and that it was “committed for the immediate purpose of injuring” SCO. Id,

Even assuming (contrary to fact) that IBM contacted BayStar, Computer Associates,
Oracle and Intel, and even assuming (contrary to fact) that IBM asked each of them not to do
business with SCO, Utah law is clear that “efforts to persuade others . . . not to deal with certain
entities” are “legitimate” and do not constitute improper means. See Leigh Furniture, 657 P.2d
at 303. Additionally, even if IBM contacted Novell and persuaded it to assert ownership of the
UNIX copyrights, SCO has not even attempted to identify any statute, regulation or common-law
rule that was violated by IBM. SCO’s claims fail for these additional reasons.

29
Case 2:03-cv-00294-DN Document 979-2 Filed 03/13/07 PagelD.15383 Page 36 of 48

Even if SCO could establish a breach of contract, it has offered no evidence whatsoever
that IBM committed that breach deliberately and for the immediate purpose of injuring SCO.
SCO’s “indirect” interference claim is based on IBM’s contributions to Linux. In support of its
motion, IBM offered evidence that it engaged in its Linux strategy, and made contributions to

_ Linwx, in the good faith belief that it was entitled to do so, and that it had no intent to injure
SCO. (Interference Br. § 62.) SCO purports to dispute these facts, but the only evidence it cites
is Ms. Smith’s alleged conversation with Mr. Becker. (Opp’n at 87.)'° That conversation, of
course, allegedly occurred in 2003, long after IBM began making contributions to Linux and
therefore says nothing about IBM’s motive or intent for contributing to Linux. And again,
SCO’s experts say that IBM’s motive was to compete with Sun and Microsoft, not to harm SCO.
(SCO Ex. 284 at 5; SCO Ex. 286 at 41.) Because SCO offers no evidence that IBM deliberately

breached a contract with the specific and immediate purpose of harming SCO, its claim fails as a

matter of law.'!

2. JBM’s Alleged Copyright Infringement and Unfair
Competition Do Not Constitute Improper Means.

SCO makes passing reference to its copyright infringement and unfair competition

claims, but fails to discuss them or explain why the conduct at issue rises to the level of improper

means. (Opp’n at 39-40.) Even if SCO were to prevail on its claims for copyright infringement

© SCO also purports to incorporate the entirety of its 64-page Memorandum in Opposition
to IBM’s Motion for Summary Judgment on SCO’s Unfair Competition Claims (SCO’s Sixth
Cause of Action). (Opp’n at 87.) SCO’s attempt to incorporate by reference its entire brief,
legal] arguments and all, rather than specifically to controvert IBM’s statement with admissible

evidence, violates DUCivR 56-1(c).

" SCO also makes an incomprehensible argument conceming statements by IBM about the
alleged derivation of its IFS technology, but completely fails to explain what this has to do with
showing an immediate intent to harm SCO. (Opp’n at 40.) ,

' 30
Case 2:03-cv-00294-DN Document 979-2 Filed 03/13/07 PagelD.15384 Page 37 of 48

and unfair competition, its “interference with the market” claim would still fail as a matter of law

for the following reasons:

First, a tortious interference claim is an intentional tort, requiring elements of proof
beyond the mere act of copyright infringement or unfair competition. See Aerotech Res., Inc. v.
Dodson Aviation, Inc., 91 Fed. Appx. 37, 41 (10th Cir. 2004) (recognizing tortious interference
has “separate and distinct” elements from other claims). Thus, SCO’s apparent contention that it
need not prove anything other than the elements of copyright infringement or unfair competition
to prevail on its tortious interference claim is wrong as a matter of law. (SCO Br. at 39.)

Second, to the extent a copyright violation or an act of unfair competition is not
undertaken with intent to inflict injury beyond that which would naturally flow from such
infringement or competition, it would not constitute improper means for interference purposes.
See Leigh Furniture, 657 P.2d at 310. Again, SCO has failed to offer any evidence that IBM’s
alleged copyright infringement or acts of unfair competition were done “with an intent to inflict
injury beyond that contemplated as a result of the mere [infringement or competition]”. Id.
(internal quotations and citations omitted).

Third, SCOQ’s reliance on its copyright claim to support intentional interference with the

“UNIX-on-Intel” market is grossly misplaced. SCO has asserted in this case only one, natrow
copyright claim. That claim does not concer IBM’s contributions to Linux, but instead relates
to SCO’s purported termination of IBM’s license for its proprietary ALX operating system. SCO
claims that IB8M’s continued distribution of ALX following that prported termination violates
SCO’s copyrights, and for that claim SCO seeks to recover IBM's profits from AIX. IBM’s

continued sales of AIX, of course, have absolutely nothing to do with IBM’s alleged interference

31
Case 2:03-cv-00294-DN Document 979-2 Filed 03/13/07 PagelD.15385 Page 38 of 48

with the “UNIX on Intel” market by allegedly making improper contributions to Linux. The
only other copyright claim upon which SCO could possibly base its “indirect” interference claim
is IBM’s counterclaim for a declaration of non-infringement. With respect to that counterclaim,
however, SCO has not specifically identified a single contribution that IBM made to Linux that
SCO claims violated its copyrights. (See IBM Exs. 54-59.) Instead, each and every Linux
contribution that SCO has identified as purportedly infringing its copyrights was made by
someone other than IBM. Thus, SCO has not identified any copyright infringement by IBM that
could possibly constitute improper means sufficient to satisfy this element of tortious
interference.

Finally, SCO’s attempt to rely on its unfair competition claim presents a tautology: SCO
argues here that the Court should not grant summary judgment on its interference claim because
it might prevail on its unfair competition claim, and thereby show improper means. At the same
time, SCO argues that its “unfair competition allegations and evidence include IBM’s
interference with SCO’s contractual relationships”. (See Mem. in Opp’n to Motion for Summ.
Judg. on SCO’s Unfair Competition Claim (SCO’s Sixth Cause of Action), at 51.) In other
words, SCO argues the Court cannot dismiss its interference claims because it might prevail on
its unfair competition claim, and cannot dismiss its unfair competition claim because it might
prevail on its interference claim. IBM respectfully submits that both claims should be dismissed.

Cc. IBM’s Alleged Conduct Is Privileged.

SCO does not dispute that IBM undertook its Linux strategy, and made contributions to

-Linux, to further its own competitive interests. Utah law is clear that the protection and

advancement of legitimate competitive interests is itself a complete, affirmative defense to a

32
Case 2:03-cv-00294-DN Document 979-2 Filed 03/13/07 PagelD.15386 Page 39 of 48

claim of tortious interference. See Gull Labs, Inc. v. Diagnostic Tech, Inc., 695 F, Supp. 1151,

1155 (D. Utah 1988) (“Competition is a major privilege justifying interference with competitive
advantage, and competitors are not liable for interference with contract if the interference

advances the competitors’ own interest and is not otherwise unlawful.”); Leigh Furniture, 657

P.2d at 305 1.8 (“The exercise of a legal right constitutes justification and is a complete defense

to an action of tortious intervention of contractual rights.”); Atkin, Wright & Miles v. Mountain

States Tel, & Tel, Co., 709 P.2d 330, 337 (Utah 1985) (“Conduct is not actionable, however, if

the defendant only acted to protect his own legitimate interests.”). Where, as here, it is
undisputed that the alleged interference was undertaken to further a competitor’s own economic
interests, a tortious interference claim fails as a matter of law.

Il. IBM’S ACTIONS DID NOT CAUSE INJURY TO SCO.

Finaily, even if SCO could overcome all of the foregoing hurdles, it still cannot show
causation or damages. SCO admits it has made no effort to quantify its damages resulting from
IBM’s alleged tortious interference separately, and admits that it has failed entirely to answer
IBM?’s interrogatory seeking precisely this information. On this basis alone, IBM’s motion
should-be granted. But even if SCO’s newly-advanced damages theories were considered by the

Court, its claims wouid still fail as a matter of law.

A, CO Failed in Discovery to Identi Damages Resulting From
IBM’s Alleged Interference.

IBM’s Interrogatory No. 24 asked SCO to describe “all of the alleged damages to
plaintiff that were proximately caused by IBM, including, but not limited to . . . the amount of
the alleged damages . . . the basis for the alleged damages . . . [and] the precise methodology by

which the damages were calculated”. (IBM Ex. 41 at 5.) In response, SCO merely stated that an

33
Case 2:03-cv-00294-DN Document 979-2 Filed 03/13/07 PagelD.15387 Page 40 of 48

answer to this interrogatory would be provided “in expert reports”. (Id.) As shown below, SCO

failed entirely to do so, and IBM is therefore entitled to summary judgment. See Cambndge

Elecs. Corp. v. MGA Elecs., Inc., 227 F.R.D. 313, 313, 321-25 (C.D. Cal. 2004) (eliminating

plaintiff's evidence in opposition to summary judgment motion, and granting motion, because
plaintiff's evidence was not identified in response to defendant’s interrogatories); Shepard v.
Frontier Comme’ns. Servs. Inc., 92 F. Supp. 2d 279, 279, 286 (S.D.N.Y. 2000} (refusing to
consider documents submitted in opposition to summary judgment because they were not

produced in response to discovery request); see also Fed. R. Civ. P. 37(c)(1) (“A party who

without substantial justification fails to... . amend a prior response to discovery as required by
Rule 26(e)(2), is not, unless such failure is harmless, permitted to use as evidence ... ona
motion any ... information that is not so disclosed.”)

With respect to SCO’s “direct” interference claims, SCO admits that its expert reports do
not even attempt to describe or quantify these damages. (Opp’n at 90 (Resp. to Undisp. Fact
66(e)).) SCO’s experts do not, for example, quantify (or even discuss) the alleged “loss of
support” from Hewlett Packard, Computer Associates, Oracle or Intel that allegedly occurred
after the January 2003 LinuxWorld event, or the amount of damage to SCO’s business caused by
this alleged “loss of support”. SCO does not dispute that its Rule 30(b)(6) witness on this precise
subject was utterly incapable of identifying “any damages that SCO may have suffered with
respect to a particular company with which SCO alleges IBM interfered”. (Opp’n at 90 (Resp. to
IBM Undisp. Fact 4 66(a)}.) Nor does SCO attempt to explain or quantify these damages in its

opposition to IBM’s motion, but instead simply asserts in conclusory fashion that “SCO’s loss of

partner support [was] a significant contributory cause of SCO’s revenue losses and injury”. See

34
Case 2:03-cv-00294-DN Document 979-2 Filed 03/13/07 PagelD.15388 Page 41 of 48

L&M Enters., Inc. v. BEI Sensors & Sys. Co., 231 F.3d 1284, 1287 (10th Cir. 2000)

(“Unsupported conclusory allegations . .. do not create a genuine issue of fact.”).

SCO’s experts likewise fail even to mention IBM’s alleged interference with BayStar and
with the Novell Asset Purchase Agreement, and they make no effort to quantify or explam any
damage to SCO resulting from that alleged conduct. And SCO’s opposition memorandum is
completely silent on the issue of damages allegedly caused by IBM’s interference with Novell.
(See Opp’n at 50-53.)'* SCO therefore has failed to answer IBM’s Interrogatory No. 24 (either
directly or through expert reports), refused to produce a corporate witness who could testify
meaningfully about such damages, and failed to provide in discovery information from which to
determine any damage to SCO resulting from IBM’s alleged tortious interference with Hewlett
Packard, Computer Associates, Oracle, Intel, Novell or BayStar.

SCO’s “interference with the market” claim stands on no better footing. Again, neither
SCO’s answer to Interrogatory No. 24 nor its expert reports identify any damages to SCO

specific to IBM’s alleged “interference with the market”. Instead, SCO states in its opposition

'? SCO’s experts are silent on the issue of BayStar and its decision to redeem its investment
in sco, In its opposition memorandum, SCO admits, in response to IBM's statement of
undisputed facts, that “SCO does not claim any discrete damages resulting from IBM’s alleged
interference [with BayStar]”, and SCO admits that its Rule 30(b)(6} witness on this subject could
not identify any damages specific to IBM’s alleged interference with BayStar. (SCO Resp. to
Undisp. Fact ] 66(d).} Contrary to these admissions, SCO’s opposition memorandum also states,
for the very first time, that its damage with respect to BayStar “is not limited to the partial
redemption of preferred stock or cash payment, totaling approximately $20 million but also

“includes damage to reputation and lost customers”. (Opp’n at 54). Because that statement is
entirely unsupported and inadmissible, because it is made for the first time in opposition to
IBM’s motion, and because it conflicts with SCO’s corporate testimony on the same subject, it
cannot be considered by the Court to create a disputed issue of material fact. See Sports Racing
Servs, Inc. v, Sports Car Club of Am., 131 F.3d 874, 893 (10th Cir. 1997) (contradictory
affidavit designed to create a sham issue of fact should be disregarded); Barber v. Hallmark
Cards, Inc., No. 94-3356, 1996 U.S. App. LEXIS 729, at *6 (10th Cir. Jan. 19, 1996) (same)
(Addendum D hereto).

35°
Case 2:03-cv-00294-DN Document 979-2 Filed 03/13/07 PagelD.15389 Page 42 of 48

memorandum that these interference damages “are subsurned within and overlap with the

injuries caused by 1BM’s breach of contract and copyright infringement”. (Opp’n at 46; see also
id. at 90.) Notably, SCO fails to cite any evidence in the record for this statement. This is
because SCO, prior to filing its opposition memorandum, has never claimed that its interference
damages are “subsumed within” or “overlap” its claimed damages for breach of contract or
copynight infringement. Because SCO waited until after fact and expert discovery closed to
identify its “indirect interference” damages, despite a specific interrogatory, several Court orders,
and an independent obligation to supplement its discovery responses, SCO cannot now make this
claim to try and show a disputed issue of fact.’

B. SCO Cannot, in Any Event, Show Causation or Damages.

Even if the Court were to consider SCO’s previously-undisclosed damages theories, its
claims would still fail as a matter of law. With respect to SCO’s “direct” interference claims,
SCO cannot show causation or damages because each of the companies with whom IBM
allegedly interfered has testified that, to the extent their business relationships with SCO have
changed, it is for reasons entirely unrelated to IBM. (See IBM Ex. 117; IBM Ex. 118; IBM Ex.
204; IBM Ex. 240; IBM Ex. 241; IBM Ex. 597.)

As explained above, SCO does not (because it cannot) directly refute this testimony.
Additionally, although SCO now attempts to distance itself from these admissions, the reality is

that SCO’s own witnesses have testified that 18M did not interfere with these business

8 Indeed, because this unsworn statement regarding allegedly “subsumed” damages
appears in a Memorandum in opposition to summary judgment, as sed to 2 lemental
interrogatory response, expert report or even a declaration, SCO still has not o admissible
testimony on this subject and for this additional reason, it should not be considered by the Court.

36
Case 2:03-cv-00294-DN Document 979-2 Filed 03/13/07 PagelD.15390 Page 43 of 48

relationships. SCO witnesses, for exampie, have testified that "rom om yo:
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(Interference Br. J 50(a)}, and any change in SCO’s

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relationship with Intel was caused by SCO allegedly Be ba AREF Ba

(Interference Br. 4 50(c)). The unrefuted testimony of each

of these disinterested cormpanies, coupled with SCO’s own admissions, demonstrates
conclusively that SCO has suffered no damages in connection with its “direct interference”
claims.

SCQ’s new damages theory for its “indirect” interference claim also fails as a matter of
law. If, as SCO claims for the first time in its opposition, its “indirect” interference damages are
“subsumed within” or “overlap” its claimed damages for breach of contract or copyright
intringement, then its interference claim is barred by the economic loss doctrine. As explained
above, SCO’s copyright claim and associated damages have nothing whatsoever to do with its
interference claim. (See Part [.B.2, above) Therefore, to prevail on its “indirect” interference
claim, SCO must prevail on its contract claims. (See id.) The conduct at issue in this claim —
allegedly making improper contributions to Linux — is the same conduct at issue in SCO’s
breach of contract claims, and SCO now admits that contract damages will fully remedy the
alleged harm. The economic loss mule therefore precludes SCO from proceeding in tort. See

Associated Diving and Marine Contractors v. Union Pac. RR, No. 2:01 CV330, 2003 U.S. Dist.

LEXIS 21560 *20 (D. Utah July 10, 2003) (“[I]t is clear that, in Utah, the economic loss doctrine

'* SCO does not say that its “indirect” interference damages have anything to do with its
unfair competition claim, and it is beyond question too late for it to do so now.
Case 2:03-cv-00294-DN Document 979-2 Filed 03/13/07 PagelD.15391 Page 44 of 48

bars all torts — intentional or otherwise — that are not based upon a duty independent of the
parties bargained for contract.”} (Addendum E hereto). Because SCO has now made clear that
its “indirect” interference claims are entirely duplicative of its contract claims, the interference
claims should be dismissed on this additional basis.

For all of the foregoing reasons, SCO has not and cannot show any injury proximately
caused by IBM’s alleged interference, and its Seventh, Eighth and Ninth causes of action should

therefore be denied as a matter of law.

38
— Case 2:03-cv-00294-DN Document 979-2 Filed 03/13/07 PagelD.15392. Page 45 of 48

Conclusion
For the foregoing reasons, [8M respectfully submits that the Court should grant IBM
summary judgment on SCO’s Seventh, Eighth and Ninth causes of action.
DATED this 12th day of January, 2007.
SNELL & WILMER L.L.P.
Alan L. Sullivan

Todd M. Shaughnessy
Amy F. Sorenson

CRAVATH, SWAINE & MOORE LLP
Evan R. Chesler
David R. Marriott

Of Counsel:

INTERNA TIONAL BUSINESS MACHINES CORPORATION

Alec S. Berman

1133 Westchester Avenue
White Plains, New York 10604
(914) 642-3000

Attorneys for Defendani/Counterclaim-Plaintiff
International Business Machines Corporation

39
Case 2:03-cv-00294-DN Document 979-2 Filed 03/13/07 PagelD.15393 Page 46 of 48. .

CERTIFICATE OF SERVICE
I hereby certify that on the 12th day of January, 2007, a true and correct copy of the

foregoing was hand delivered to the following:

Brent QO, Hatch

Mark F, James

HATCH, JAMES & DODGE, P.C.
10 West Broadway, Suite 400

Salt Lake City, Utah 84101

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Case 2:03-cv-00294-DN Document 979-2 Filed 03/13/07 PagelD.15394 Page 47 of 48

CERTIFICATE OF SERVICE

J hereby certify that on the 13th day of March, 2007, a true and correct copy of the
foregoing was electronically filed with the Clerk of the Court and delivered by CM/ECF system

to the following:

Brent O. Hatch

Mark F. James

HATCH, JAMES & DODGE, P.C.
10 West Broadway, Suite 400

Salt Lake City, Utah 84101

Robert Silver

Edward Normand

BOIES, SCHILLER & FLEXNER LLP
333 Main Sireet

Armonk, New York 10504

Stephen N. Zack

Mark J. Heise

BOIES, SCHILLER & FLEXNER LLP
100 Southeast Second Street, Suite 2800

Miami, Florida 33131

‘sf Amy F. Sorenson

Case 2:03-cv-00294-DN Document 979-2 Filed 03/13/07 PagelD.15395 Page 48 of 48

INDEX TO ADDENDA

Addendum A: IBM’s Undisputed Facts: IBM Interference Brief
Addendum B: IBM’s Objections to SCO’s Alleged Evidence

Addendum C: | OK] Am., Inc. v. Advanced Micro Devices, Inc., No. 04-3171, 2006 WL
2547464 (N_D. Cal. Aug. 31, 2006)

Addendum D: Barber v. Hallmark Cards, Inc., No. 94-3356, 1996 U.S. App. LEXIS
729 (10th Cir. Jan. 19, 1996)

Addendum E: Associated Diving and Marine Contractors v. Union Pac. RR, No. 01-
330, 2003 U.S. Dist. LEXIS 21560 (D. Utah July 10, 2003)
